Case 3:16-md-02738-MAS-RLS      Document 33000      Filed 07/23/24   Page 1 of 2 PageID:
                                     194089



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON                        MDL No. 3:16-md-02738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY
  LITIGATION

  This Document Relates To All Cases




  NOTICE OF MOTION TO EXCLUDE THE OPINIONS OF DRS. DAVID
    KESSLER, LAURA PLUNKETT, WILLIAM SAGE, AND GEORGE
                        NEWMAN
      PLEASE TAKE NOTICE that on a date to be determined by the Court, the

undersigned counsel will bring Defendants Johnson & Johnson and LLT

Management, LLC (“Defendants”)’s Motion to Exclude the Opinions of Drs. David

Kessler, Laura Plunkett, William Sage, and George Newman before this Court.

Defendants will ask for entry of an order that excludes Drs. Kessler’s, Plunkett’s,

Sage’s, and Newman’s opinions in full.

      PLEASE TAKE FURTHER NOTICE that in support of their motion,

   Defendants shall rely upon the Brief submitted herewith and the Declaration of

   Jessica Davidson, Esq., together with exhibits; and

      PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted
Case 3:16-md-02738-MAS-RLS   Document 33000   Filed 07/23/24   Page 2 of 2 PageID:
                                  194090



   herewith; and

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.



  Dated: July 23, 2024               Respectfully submitted,

                                     /s/ Susan M. Sharko
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